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                              UNITED STATES DISTRICT COURT
                                         FOR THE
                               DISTRICT OF NEW HAMPSHIRE

                                                       §
                                                       §
Coronavirus Reporter,                                  §
                                                       §
                Plaintiff,                             §      Civil Action No. 1:21-cv-00047-LM
v.                                                     §
                                                       §
Apple Inc.,                                            §
                                                       §
                Defendant.                             §
                                                       §

                APPLE INC.’S ASSENTED TO MOTION TO EXTEND TIME
                 TO FILE A RESPONSIVE PLEADING TO COMPLAINT

       Apple Inc. (“Apple”), by and through its attorneys, Sulloway & Hollis, PLLC and Paul,

Weiss, Rifkind, Wharton & Garrison LLP, moves, with the assent of counsel for Coronavirus

Reporter, that the Court extend the date by which Apple must file a responsive pleading to

Coronavirus Reporter’s Complaint under Rule 12; from February 10, 2021, to April 12, 2021. In

support of this Motion, Apple states as follows:

       1.       If a plaintiff serves a defendant directly, rather than seeks a waiver of service of a

summons, that defendant is required to file an answer or other responsive pleading within twenty-

one (21) days of being served. Fed. R. Civ. P. 12(a)(1)(A)(i).

       2.       In this case, Coronavirus Reporter field suit on January 19, 2021; the Complaint

was served on Apple on January 20, 2021; and a response is due on or before February 10, 2021.

       3.       In order to have adequate time to conduct an investigation of the allegations in

Coronavirus Reporter’s 21 page/93 paragraph Complaint, coordinate with recently retained local




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counsel, and prepare a responsive pleading under Rule 12, Apple requests an extension of the

responsive pleading deadline to April 12, 2021.

        4.        The granting of this Motion will not result in the continuance of any hearing,

conference, or trial.

        5.        No memorandum of law is necessary in connection with this Motion as the relief

requested is within the sound discretion of the Court.

        6.        Keith Mathews, Esquire, counsel for Coronavirus Reporter, assents to the relief

sought by this Motion.

        WHEREFORE, Apple requests that this Honorable Court:

             A.      Extend the time for Defendant to file its answer or otherwise respond to
                     Plaintiff’s Complaint from February 10, 2021, to April 12, 2021; and

             B.      Grant such other and further relief as the Court deems just and equitable.


                                               Respectfully submitted,

                                               APPLE INC.

                                               By and through its attorneys,
                                               SULLOWAY & HOLLIS, PLLC

Dated: February 5, 2021                        /s/ Kevin M. O’Shea
                                               Kevin M. O’Shea, Esquire
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                                            PAUL, WEISS, RIFKIND, WHARTON &
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                                CERTIFICATE OF SERVICE

        I hereby certify that this pleading was filed through the ECF/CM system and will be sent
to all parties of record through ECF/CM.

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Date: February 5, 2021                      By:     /s/ Kevin O’Shea




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